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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT

UNITED STATES OF AMERICA,                    )
                  Appellee                   )
         v.                                  )      Nos. 24-1302, 24-1322,
                                             )      24-1491
ORONDE SHELTON,                              )
                           Appellant         )

  MOTION TO CONTINUE DUE DATE FOR BRIEF FOR APPELLANT

      Oronde Shelton, by his attorney Assistant Federal Public Defender Renee

Pietropaolo, respectfully files this Motion to Continue the Due Date for the Brief

for Appellant, and in support represents the following:

      1.      Mr. Shelton appealed from the judgment entered at Criminal No. 21-

216 (Appeal No. 24-1302) and from the supervised release revocation judgment at

Criminal No. 09-232 (Appeal No. 24-1322). The government cross-appealed from

the judgment at Criminal No. 21-216 (Appeal No. 24-1491). The Court granted the

government’s motion to consolidate all three appeals. These appeals were stayed

on motion of the government until June 17, 2024, at which time the briefing

schedule issued.

      2.      Undersigned counsel entered her appearance May 15, 2024, ordered

the necessary transcripts, and immediately requested prior counsel’s file, which

record she received August 30, 2024. During her review of the records, counsel
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became aware that certain exhibits were missing and is in the process of obtaining

those exhibits from the trial court.

      3.      Counsel continues to review the record and to research potential

issues to be raised on appeal, including one issue that appears to be a question of

first impression in this circuit, and therefore respectfully requests a 30-day

continuance of the due date for the Brief and Appendix for Appellant.

      4.      Counsel does not file this motion for purposes of delay but to enable

her to provide Mr. Shelton with the effective assistance of appellate counsel to

which he is constitutionally entitled. Evitts v. Lucey, 469 U.S. 387, 396 (1985) (“A

first appeal as of right … is not adjudicated in accord with due process of law if the

appellant does not have the effective assistance of an attorney.”). See Douglas v.

California, 372 U.S. 353, 358 (1963) (the Sixth and Fourteenth Amendments

mandate that an appellant be afforded “the benefit of counsel’s examination into

the record, research of the law, and marshalling of arguments on his behalf”);

Strickland v. Washington, 466 U.S. 668. 690-91 (1984) (providing that a criminal

defense lawyer has a duty to conduct reasonable investigations into her client’s

case, which extends to the law as well as the facts); Sistrunk v. Vaughn, 96 F.3d

666, 670 (3d Cir. 1996) (explaining that “the ‘process of “winnowing out weaker

arguments on appeal and focusing on” those more likely to prevail … is the

hallmark of effective appellate advocacy.’”). See also Padilla v. Kentucky, 559 U.S.
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356, 367 (2010) (describing the ABA’s standards as “valuable measures of the

prevailing professional norms of effective representation”); ABA Criminal Justice

Standards for the Defense Function, Standard 4-9.2 Counsel on Appeal (4th ed.

2017).

      WHEREFORE, it is respectfully requested that the within Motion to

Continue Due Date for the Brief for Appellant be granted and that the due date be

extended by 30 days, or until November 12, 2024.

                                            Respectfully submitted,

                                            /s/ Renee Pietropaolo
                                            Renee Pietropaolo
                                            Assistant Federal Public Defender
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                         CERTIFICATE OF SERVICE

      I, Renee Pietropaolo, Assistant Federal Public Defender, hereby certify that I

have electronically filed and served a copy of Appellant’s Motion for an Extension

of Time upon Filing User Adam Hallowell, Assistant United States Attorney,

through the Third Circuit Court of Appeals’ Electronic Case Filing (NextGen

CM/ECF) system.

                                             Respectfully submitted,

                                             /s/ Renee Pietropaolo
                                             RENEE PIETROPAOLO
                                             Assistant Federal Public Defender


DATE: October 8, 2024
